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    IT IS HEREBY ADJUDGED and DECREED that the
    below described is SO ORDERED.


    Dated: June 26, 2023.

                                               ________________________________________
                                                          MICHAEL M. PARKER
                                                  UNITED STATES BANKRUPTCY JUDGE
    ________________________________________________________________
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